
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 29th day of April 2005 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal *633for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 3rd day of November 2005."
Upon consideration of the conditional petition filed on the 29th day of April 2005 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of November 2005."
